Case 1-15-14310-cjf   Doc 25-3   Filed 01/12/16 Entered 01/12/16 11:11:07   Desc
                                 Note Page 1 of 4
Case 1-15-14310-cjf   Doc 25-3   Filed 01/12/16 Entered 01/12/16 11:11:07   Desc
                                 Note Page 2 of 4
Case 1-15-14310-cjf   Doc 25-3   Filed 01/12/16 Entered 01/12/16 11:11:07   Desc
                                 Note Page 3 of 4
Case 1-15-14310-cjf   Doc 25-3   Filed 01/12/16 Entered 01/12/16 11:11:07   Desc
                                 Note Page 4 of 4
